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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                         JAIMEE PUA HILBURN,
                                   7                                                       Case No. 23-cv-04668-DMR
                                                        Plaintiff,
                                   8
                                                 v.                                        ORDER TO SHOW CAUSE
                                   9
                                         MARTIN O’MALLEY, Commissioner of
                                  10     Social Security,
                                  11                    Defendant.

                                  12          Plaintiff Jaimee Pua Hilburn filed a motion for attorneys’ fees on June 13, 2024. [Docket
Northern District of California
 United States District Court




                                  13   No. 20.] Pursuant to Civil Local Rule 7-3(a), any brief in opposition to Plaintiff’s motion was due

                                  14   on June 27, 2024, but no opposition was filed. Defendant Martin O’Malley is ordered to respond

                                  15   by July 8, 2024 and show cause for his failure to respond to the motion in accordance with Civil

                                  16   Local Rule 7-3(a) or alternatively to file a statement of nonopposition to the motion as required by

                                  17   Civil Local Rule 7-3(b). This order to show cause does not constitute permission to file a late

                                  18   opposition. If Defendant does not respond by July 8, 2024, Plaintiff’s motion may be granted.

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                                       Dated: July 1, 2024
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                                                                                                    Donna M. Ryu
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                                  23                                                             Chief Magistrate Judge
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